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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




    ROBERT ARKOW,                         CV 21-850 DSF (SKx)
        Plaintiff,
                                          Order DENYING Motion to
                     v.                   Remand (Dkt. No. 13)

    CITIBANK, N.A.,
         Defendant.



      Plaintiff has filed a motion for remand currently set for hearing on
   May 3, 2021. The Court deems this matter appropriate for decision
   without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-15. The
   hearing set for May 3, 2021 is removed from the Court’s calendar.

      The motion to remand is DENIED because Plaintiff’s complaint
   stated on its face a violation of a federal statute that gives rise to
   federal question jurisdiction in this Court.

      IT IS SO ORDERED.



    Date: April 23, 2021                  ___________________________
                                          Dale S. Fischer
                                          United States District Judge
